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Samir F. Aarab
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Attorney for Defendant


           IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MONTANA
                     BILLINGS DIVISION
 UNITED STATES OF AMERICA,

        Plaintiff,                       Cause No. CR 23-07-BLG-SPW

vs.
                                         UNOPPOSED MOTION TO
KYLE RICHARD LEWELLEN,                    CONTINUE CHANGE OF
                                                 PLEA
         Defendant.


      The Defendant, Kyle Richard Lewellen, by and through his

Counsel of record, Samir F. Aarab, respectfully moves this Court for a

continuance of his change of plea hearing. The grounds for this motion

are that counsel has a scheduling conflict with the current setting. The

conflict is with United States v. Kurns, Cause No. CR-23-01-H-BMM,

that is currently set for sentencing in front of Judge Morris in Great

Falls on Tuesday November 14, in the afternoon. Counsel respectfully

requests, insofar as it is possible, that a change of plea be set in the
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afternoon of Wednesday November 15, or on Thursday November 16,

2023. Counsel for the United States, Thomas Godfrey, has been

contacted and did not object to this motion.

     Respectfully submitted November 10, 2023.

                                        By:    /s/ Samir F. Aarab
                                               Samir F. Aarab
                                               BOLAND AARAB PLLP
                                               Attorney for Defendant




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                     CERTIFICATE OF SERVICE

    I hereby certify that on November 10, 2023, a copy of the foregoing
document was served on the following persons by the following means:

1,2   CM-ECF
      Hand Delivery
3     Mail
      Overnight Delivery Service
      Fax
      E-mail

    1. Clerk, United States District Court


    2. Thomas Godfrey
       2601 2nd Avenue North
       Suite 3200
       Billings, MT 59101
       Attorney for Defendant

    3. Kyle Richard Lewellen
       Plaintiff


                                         By:   /s/ Samir F. Aarab
                                               Samir F. Aarab
                                               BOLAND AARAB PLLP
                                               Attorney for Defendant




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